         Case 1:20-cv-02208-RBW Document 13 Filed 11/03/20 Page 1 of 8




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

DEBORAH LAUFER,
         Plaintiff,

v.                                                              Case No: 20-cv-2208 (RBW)


R B PROPERTIES, INC.,
          Defendant .

        PLAINTIFF’S SUR-REPLY IN OPPOSITION TO MOTION TO DISMISS

        Plaintiff, by and through undersigned counsel, hereby submits this Sur-Reply in

Opposition To Defendant’s Motion To Dismiss, filed at DE 8.

1.      Defendant’s Argument That An Affidavit Is Inappropriate Is Misleading

        Defendant argues that Plaintiff’s affidavit cannot be considered, and that instead this

Court must confine its analysis to the sufficiency of the pleadings. Indeed, Defendant’s remaining

arguments depend entirely on this first issue. As set forth in Plaintiff’s earlier briefing, the

pleadings set forth a full and actionable injury-in-fact for informational injury. Defendant is

under a legal obligation to provide plaintiff with certain information about the accessibility at its

hotel and failed to do so. This gives rise to a cognizable injury-in-fact and nothing additional is

required. Therefore, the pleadings are legally sufficient.

        However, Plaintiff also submitted an affidavit explaining her plans to make a trip to

Washington DC and her need to stay in area hotels. Therefore, Defendant’s discriminatory online

reservations system causes her ADDITIONAL injury by depriving her of the information she

needs to make a meaningful choice. This additional injury is superfluous to her cause of action

for online reservations discrimination and unnecessary to her case. Nonetheless, it provides


                                                   1
          Case 1:20-cv-02208-RBW Document 13 Filed 11/03/20 Page 2 of 8




additional explanation.

        Defendant’s arguments all depend on the disregard of Plaintiff’s travel plans. For this

reason Defendant disingenuously argues that this Court cannot consider Plaintiff’s affidavit. In

this regard, Defendant is entirely wrong and deliberately misleading.

        Defendant filed its motion under both 12(b)(1) and 12(b)(6). It references 12(b)(1) at p. 3

of its brief. Ample case law holds that the submission of affidavits are entirely appropriate in

response to challenges under 12(b)(1). In a 12(b)(1) motion, the Court may look beyond the

pleadings. Haase v. Sessions, 835 F.2d 902, 906 (D.C. Cir. 1987). Consideration may include

affidavits. Id., Citing Land v. Dollar, 330 U.S. 731, 735 n.4 (1947).

        Defendant’s brazen misrepresentation of the applicable law is as equally applied to its

misconception of the Federal Rules Of Civil Procedure as it is to the substantive law governing

Plaintiff’s cause of action.

2.      Defendant Demonstrates A Complete Lack Of Understanding Of Spokeo And Its
        Progeny

        Defendant’s reference to Owner-Operator Indep. Drivers Ass’n v. United States DOT,

879 F.3d 339 (D.D.C. 2018) misses the mark. As Defendant describes, that case involved

publication of the plaintiffs’ driving records on a site intended for the benefit of third party

employers. This is similar to the Fair Credit Reporting Act at issue in Spokeo, Inc. v. Robins, 136

S. Ct. 1540 (2016), which governed the provision of information to third party creditors. The

critical distinction is that these cases involved information required to be provided to third parties

rather than the plaintiffs. By contrast, as recognized in Spokeo and Carello, where the defendant

is required to provide information directly to the plaintiff, failure to do so gives rise to injury. In



                                                   2
          Case 1:20-cv-02208-RBW Document 13 Filed 11/03/20 Page 3 of 8




the case at bar, the Regulation directly mandates that hotels provide accessibility information to

disabled persons on their reservations systems. Failure to comply with this requirement is a

violation of 42 U.S.C. Section 12182(b)(2)(A)(ii), which then constitutes discrimination under

Section 12182(b)(2)(A). Under Section 12188, “any person” subjected to discrimination has a

right to sue.

        For example, under Carello v. Aurora Policemen Credit Union, 930 F.3d 830, 835 (7th

Cir. 2019), the Seventh Circuit noted:

        A harm is not an informational injury simply because it has something to do with
        information. An informational injury occurs when the defendant refuses to provide the
        plaintiff with information that a law—typically, a sunshine law—entitles him to obtain
        and review for some substantive purpose. See, e.g., Fed. Election Comm'n v. Akins, 524
        U.S. 11, 21, 24-25 [] (1998) (concluding that voters' inability to obtain information
        subject to disclosure under the Federal Election Campaign Act of 1971 is a sufficiently
        concrete injury); Pub. Citizen v. U.S. Dep't of Justice, 491 U.S. 440, 449 [] (1989)
        (explaining that, to satisfy Article III's injury requirement, advocacy organizations
        requesting information subject to disclosure under the Federal Advisory Committee Act
        need only show "that they sought and were denied" the information); Casillas, 926 F.3d at
        337-38 ("[Akins and Public Citizen] hold that the denial of information subject to public
        disclosure is one of the intangible harms that Congress has the power to make legally
        cognizable." (emphasis omitted)). In such cases, a plaintiff "need not allege any additional
        harm beyond" his failure to receive information that the law renders subject to disclosure.
        Spokeo, 136 S. Ct. at 1549.

See also Friends of Animals v. Jewell, 828 F.3d 989, 994-95 (D.C. Cir. 2016)(discussing

informational injury as involving information a defendant is required to disclose). Reading

Spokeo, Havens Realty, Owner-Operator, Carello, Jewell, and the host of other decisions

previously briefed, Defendant’s failure to comply with its legal obligation to provide information

to the plaintiff give rise to informational injury. Nothing more is required.

3.      Defendant Misconstrues Havens Realty

        Defendant’s rambling analysis of Havens Realty misses the mark. Defendant’s arguments


                                                  3
         Case 1:20-cv-02208-RBW Document 13 Filed 11/03/20 Page 4 of 8




are largely about the organizational plaintiff aspects of Havens Realty and would have this Court

overlook the lengthy analysis Havens Realty devoted to the standing of the individual plaintiffs.

Indeed, Havens Realty was unequivocally about the right to information. In this regard, the

Havens Realty Court recognized that: “Congress has thus conferred on all "persons" a legal right

to truthful information about available housing.” Id., at 373-74. The Court held that two

plaintiffs had standing because they received untruthful information and a third plaintiff lacked

standing because he did NOT receive untruthful information. Id., at 374. In subsequent opinions,

the Supreme Court expressly recognized that Havens Realty stands for the proposition that it is

about the right to receive truthful information and that failure in this regard constitutes injury. In

the Akins decision, the Supreme Court referenced Havens Realty as follows:

               Indeed, this Court has previously held that a plaintiff suffers an "injury in fact"
       when the plaintiff fails to obtain information which must be publically disclosed
       pursuant to a statute..... See also Havens Realty Corp. v. Coleman, 455 U.S. 363,
       373-374[] (1982) (deprivation of information about housing availability constitutes
       "specific injury" permitting standing).

Akins, 524 U.S. at 21 (emphasis added.) This same point was made in Havens Realty’s own

dissenting opinion. 136 S.Ct. At 1555 (Ginsburg, J. Dissenting)(noting that Havens Realty

identified the right to truthful information). Various circuit courts have cited Havens Realty in

reaching similar conclusions in recognizing informational injury. See Ragin v. Harry Maclowe

Real Estate Co., 6 F.3d 898, 904 (2nd Cir. 1993)(black testers had standing to sue over

discriminatory advertisement even though they had no intention of renting apartment); Watts v.

Boyd Properties, 758 F.2d 1482, 1485 (11th Cir. 1985)(noting Havens Realty’s holding that

plaintiff had right against receiving false information); Bensman v. United States Forest Serv.,

408 F.3d 945, 955-57 (7th Cir. 2005)(surveying cases and statutes where informational injury is


                                                  4
         Case 1:20-cv-02208-RBW Document 13 Filed 11/03/20 Page 5 of 8




recognized and actionable); Carter v. Welles-Bowen Realty, Inc. 553 F.3d 979, 989 (6th Cir.

2009)(discussing informational injury); Wilderness Soc’y v. Rey, 622 F.3d 1251, 1258-60 (9th Cir.

2010)(discussing informational injury); Tandy v. City of Wichita, 380 F3d 1277, 1290 (10th Cir.

2004)(Title II ADA tester has standing to sue for failure to provide required information); In re

Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 273-74 (3rd Cir. 2016)(recognizing

intangible harm as including unlawful denial of access to information subject to disclosure).

4.     Other Cases Cited By Defendant Are Unavailing

       Price v. City of Ocala, 375 F.Supp.3d 1264 (M.D.Fla. 2019), cited by Defendant, is

unavailing. First, that is not hotel online reservations case and does not involve any governing

regulation. In other words, that case did not involve any legal obligation on the defendant’s part

to provide the plaintiff with information. Thus, this case did not invoke the language of Spokeo

recognizing such injury with nothing additional required. Second, Price relied heavily on Rendon

v. Valleycrest, Prods., Ltd., 294 F.3d 1279 (11th Cir. 2002). Reliance on Rendon for the

proposition that physical nexus is required is misplaced because Rendon was strictly limited to

the applicability of a different subsection: namely 42 U.S.C. Section 12182(b)(2)(A)(i). At issue

in Rendon was the applicability of the subsection prohibiting eligibility criteria that “screen out

or tend to screen out [disabled persons] from fully and equally enjoying any goods, services,

facilities....” (Emphasis added.) This subsection specifically contained a physical nexus

requirement that is missing from the subsection that governs online reservations cases -

subsection 12182(b)(2)(A)(ii). Therefore, Rendon’s reference to a physical nexus requirement

was completely appropriate for Subsection 12182(b)(2)(A)(i): BUT NOT 12182(b)(2)(A)(ii) - the

subsection that governs reservations systems.


                                                  5
         Case 1:20-cv-02208-RBW Document 13 Filed 11/03/20 Page 6 of 8




       Likewise, Subsection 12182(b)(2)(A)(iii) also has a physical nexus requirement. For

example, failure to provide disabled persons with an auxiliary aid (such as screen reader

software) is not by itself discriminatory unless that additionally causes exclusion or segregation

of goods or services, etc.. There, the operative language is “because of”.

       When reading the three subsections together (i), (ii) and (iii), it is clear that two have

physical nexus requirements (“from” and “ because of”) while the subsection that governs online

reservations systems clearly has no such requirement.

5.     Defendant’s Argument Regarding Tester Standing Is Meritless

       Defendant argues that testers do not have standing, even though three circuit courts have

recognized it. Colo. Cross-Disability Coalition v. Abercrombie & Fitch Co., 765 F.3d 1205,

1211 (10th Cir. 2014), citing Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1333-34 (11th

Cir. 2013); Civil Rights Educ. & Enforcement Ctr. v. Hosp. Properties Trust, 867 F.3d 1093,

1101 (9th Cir. 2017)(following Marod). In Harty v. Simon Property Group, L.P., 428 Fed. Appx.

69, 71 (2nd Cir. 6/29/2011)(Summary Order), the Second Circuit recognized the ADA plaintiff’s

tester status as one reason in favor of standing.

       It should be noted that the Marod opinion, which first recognized tester standing, found

that the operative language of the ADA was substantially identical to the operative language by

which the Havens Realty Court granted tester standing in the context of the Fair Housing Act

(“no individual shall” and “any person who is being subjected to discrimination...”). Havens

Realty was decided several years before Congress enacted the ADA and it is therefore reasonable

to conclude that tester standing was therefore intended. Certainly, such would be consistent with

Congress’ stated purpose of providing a “clear and comprehensive national mandate for the


                                                    6
          Case 1:20-cv-02208-RBW Document 13 Filed 11/03/20 Page 7 of 8




elimination of discrimination against individuals with disabilities... [and] to provide clear, strong,

consistent, enforceable standards addressing discrimination against individuals with

disabilities[.]” 42 U.S.C. Section 12101.

         Whether recognizing tester standing or not, a court is constrained to apply the law as

written by Congress (and to give the Regulation controlling weight), without imposition of

additional terms that were clearly and conspicuously omitted. For this reason, any requirement of

intent or physical nexus cannot be judicially imposed.

5.       Defendant’s Reference To Physical Property Cases Is Misguided

         Defendant argues that this Court should return to Holt v. Am. City Diner, Inc., 2007 U.S.

Dist. LEXIS 35284, *12 (D.D.C. 2007), and Equal Rights Ctr. V. Hilton Hotels Corp., 2009

U.S. Dist. LEXIS 126645 (2009). However, these are cases involved a plaintiff’s encounter with

discrimination only when he or she visited the property. In those cases, the locus of the injury is

at the property. Discrimination is only encountered AT the physical properties. By contrast, in the

case of online reservation discrimination, the locus of the injury is in the plaintiff’s own home.

That is where the Plaintiff encountered discrimination and that is where she will encounter it

again.




                                                  7
         Case 1:20-cv-02208-RBW Document 13 Filed 11/03/20 Page 8 of 8




6.     Conclusion

       For the foregoing reasons, Defendant’s Motion is without merit and should be denied.


                                                    Respectfully submitted,

                                                    For the Plaintiff, Deborah Laufer


                                                    /s/ Tristan W. Gillespie
                                                    Tristan W. Gillespie, Esq.
                                                    THOMAS B. BACON, P.A.
                                                    5150 Cottage Farm Rd.
                                                    Johns Creek, GA 30022
                                                    Tel: 404.276.7277
                                                    gillespie.tristan@gmail.com



                                 CERTIFICATE OF SERVICE

I hereby certify that on the 3rd day of November, 2020, a copy of the foregoing Memorandum in
Opposition to the Motion to Dismiss was filed electronically and served on all counsel of record
via the Court’s CM/ECF system.




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